      Case 4:16-cv-00025-SMR-SBJ Document 28 Filed 07/05/16 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF IOWA



       Jeffrey Allan Kock



               Plaintiff                            JUDGMENT IN A CIVIL CASE
       v
                                                    CASE NUMBER: 4:16-cv-00025
       Bill McCarthy, et al.,




               Defendant

        JURY VERDICT . This action came before the Court for trial by jury. The issues have been
tried and the jury has rendered its verdict.

       DECISION BY COURT. This action came before the Court. The issues have been
considered and a decision has been rendered.


IT IS ORDERED AND ADJUDGED:
In sum, for the reasons stated, ECF Nos. 6, 8, 11, 16, and 17 are GRANTED. In addition,
this case is DISMISSED. The Clerk of Court shall enter judgment in favor of all Defendants.




Date: July 5, 2016                                  CLERK, U.S. DISTRICT COURT


                                                    /s/ Donnell Vance
                                                    ______________________________
                                                    By: Deputy Clerk
